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,.. · !I
 ' ''
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                               U.S. Citizenship and Immigration Services
                                       Language Services Section
                                                 26 Federal Plaza, Room 506
                                                    New York, NY 10278
                                                    Tel: (212) 264-6831
                                                     Fax: (212) 264-2622




                                     CERTIFICATE OF TRANSLATION




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                   ~ full /   D summary translation of the attached document is true and accurate to
                   the best of my abilities.


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                                                                               May 15, 2015
                                                                                   (Date)   J/11//1------.
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                   Case 1:17-cr-00011-CJW-MAR Document 25-2 Filed 07/31/17 Page 1 of 32
               U.S. Citizenship and Immigration Services
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                                               New York, NY 10278
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        7             (Signatµre ofTranslator)
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                                                                         May 14, 2015
                                                                            (Date)

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    Case 1:17-cr-00011-CJW-MAR Document 25-2 Filed 07/31/17 Page 2 of 32
            U.S. Citizenship and Immigration Services
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                                     26 Federal Plaza, Room 506
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A Number: ~ (         P(
                   '. I




                                                                  May 14, 2015
                                                                     (Date)




Case 1:17-cr-00011-CJW-MAR Document 25-2 Filed 07/31/17 Page 3 of 32
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                         Deleted
                                   t::      --    :;-~ - - - ~   ~       -;              _J~       t   ~   '
                                    false
                           Body Dude wake up

                    Recipients Abdul Abdi (1183500716)
                               Bassem Herz (71804612)
                       Author Bassem Herz (71804612)
                         Sent 2015-01-16 19:07:14 UTC
                      Deleted false
                         Body Hey the guy called from aurrora

                    Recipients Abdul Abdi (1183500716)
                               Bassem Herz (71804612)
                       Author Bassem Herz (71804612)
                         Sent 2015-01-2223:26:44 UTC
                      Deleted false
                         Body Whatsup bro

                    Recipients Abdul Abdi (1183500716)
                               Bassem Herz (71804612)
                       Author Bassem Herz (71804612)
                         Sent 2015-01 -2223:26:49 UTC
                      Deleted false
                         Body What did u do today

                   Recipients BassemHerz (71804612)
                               Abdul Abdi (1183500716)
                        Author Abdul Abdi (1183500716)
                          Sent 2015-03-19 08:46:46 UTC
                            IP 216.161.203.238
                   Call Record             Type phone
                                        Missed true



               (mid. l 405432230866:98d9 l 8aafb6edflf48)
                   Recip.i ents BasseinHetz (71804612)
                                AbouHaydar Yassine (100002594503606)
                      Author AbouHaydar Yassine (100002594503606)
                         Sent 2014-07-15 B:50:30 UTC
                             IP 92.62.163.11
                     Deleted false
                        Body Walaaaaw Come on

                   Recipients BassemHerz (71804612)
                              AbouHaydar Yassine (100002594503606)
                      Author AbouHay9arY assine (100002594503606)
                        Sent 2014-07-15 13:51:04 UTC
                           IP 92.62.163.11
                     Deleted false
                        Body Call me bass fek Call me when you can

                   Redpients AbouHaydar Yassine (100002594503606)
                             Bassem Herz (71804612)
                      Author BassemHerz (71804612)
                        Sent 2014-07-18 06;1 l :52 UTC
                     Deleted false
                       Body Salam Greetings



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:: -   -    -=._            -_-            ;;:- -   -_              -   -                        -   -            -..=--   ~   ---= ~-
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r~_                ~     _ - : _- - _ :_
                       Recipients
                                                                   _:            ~i-:                           : ~ ~ ~~i
                                     AbouHaydar Yassine (100002594503606)
                                     Bassem Herz (71804612)
                           Author    Bassem Herz (71804612)
                             Sent    2014-07-18 06:12:16 UTC
                          Deleted    false
                              Body   Habibi ya khayeee keefak wala ma kent mentebeh
                                     My dear and my brother how are you by God I wasn't paying any attention
                       Recipients    AbouHaydar Yassine (100002594503606)
                                     Bassem Herz (71804612)
                           Author    Bassem Herz (71804612)
                             Sent    2014-07-18 06:12:29 UTC
                          Deleted    false
                              Body   Tamene 3anhak sho akhbarak
                                     Put my mind at ease what's up withyou
                        Recipients   Bassem Herz (71804612)
                                      AbouHaydar Yassine (100002594503606)
                           Author    AbouHaydar Yassine (I 00002594503606)
                             Sent    2014-07-1817:28:11 UTC
                          Deleted    false
                             Body    Habibe My dear

                       Recipients BassemHeri (71804612)
                                  AbouHaydar Yassine (100002594503606)
                          Author AbouHaydar Yassine (100002594503606)
                            Sent 2014-07-18 17:28:32 UTC
                         Deleted false
                            Body Mchta2laak J miss you

                       Recipients A.bouHaydar Yassine (100002594503606)
                                  Bassem Herz (71804612)
                          Author Bassem Herz (71804612)
                            Sent 2014-07-18 17:56:45 UTC
                         Deleted false
                            Body Hala ne7na bel aktar Hi we miss you even more

                       Recipie.nts AbouHaydar Yassine (100002594503606)
                                   Bassem Herz (71804612)
                          Author Bassem Herz (71804612)
                            Sent 2014-07-1817:56:53 UTC
                         Deleted false
                            Body Sho I ~hbar What's up?

                       Recipients BassemHerz (71804612)
                                  AbouHaydar Yassine (100002594503606)
                          Author AbouHaydar Yassine (100002594503606)
                            Sent 2014-07-19 B:08:14 UTC
                         Deleted false
                            Body Wallaah kelo tamem By God all is well

                       Recipients Bassem Herz (71804612)
                                  AboµHaydar Yassine (100002594503l:>06)
                          Author AbouHaydar Yl'\Ssine (100002594503606)
                            Sent 2014-07-24 23:52:57 UTC
                         Deleted false
                            Body r)l...., Greetings

                       Recip~ents Bassem Herz (71804612)


           Case 1:17-cr-00011-CJW-MAR Document 25-2 Filed 07/31/17 Page 5 of 32
':    . .·   ~~ '.   .• • ~..   ·. . Facebook Bu;iness ~e;ord      • ·   .   Page 1909   ;
                         AbouHaydar Yassine (100002594503606)
                  Author AbouHaydar Yassine (100002594503606)
                    Sent 2014-07-24 23:53:05 UTC
                 Deleted false
                   Body LY':l.J Boss

              Recipients Bassem Herz (71804612)
                         AbouHaydar Yassine (100002594503606)
                 Author AbouHaydar Yassine (100002594503606)
                    Sent 2014-07-24 23:53:56 UTC
                Deleted false
                   Body ~ ilillJ ~ How are you by God I miss you

              Recipients AbouHaydar Yassine (100002594503606)
                         Bassem Herz (71804612)
                 Author Bassem Herz (71804612)
                   Sent 2014-07-24 23:54:20 UTC
                Deleted false
                   Body ~ My dear

              Recipients Bassem Herz (71804612)
                         AbouHaydar Yassine (100002594503606)
                 Author AbouHaydar Yassine (100002594503606)
                   Sent 2014-07-24 23:54:22 UTC
                Deleted false
                   Body ~ 1 '-¥ &~ Partner how do I call you

              Recipients AbouHaydar Yassine (100002594503606)
                         Bassem Herz (71804612)
                 Author Bassem Herz (71804612)
                   Sent 2014-07-2423:54:34 UTC
                Deleted false
                   Body ~ How are you

              Recipients BassemHerz (71804612)
                         AbouHaydar Yassine (100002594503606)
                 Author AbouHaydar Yassine (100002594503606)
                   Sent 2014-07-24 23:54:51 UTC
                Deleted false
                   Body ..lill.lA:>.l Praise to God

              Recipients Bassern. Herz (71804612)
                         AbouHaydar Yassine ( I 00002594503 606)
                 Author AbouHaydarYassine (100002594503606)
                   Sent 2014-07-2423:54:57 UTC
                Deleted false
                   Body JIJ.; Quiet

              Recipients Bassem Herz (71804612)
                         AbouHaydar Yassine (100002594503606)
                 Author AbouliaydarYassine (100002594503606)
                   Sent 2014-07-24 23:55:00 UTC
                Deleted false
                   Body c::.,.jl You

             Recipients AbouHaydar Yassine (100002594503606)
                        Bassei;n Herz (71804612)
                Author Bassem Herz (71804612)
                  Sent 2014-07-2423:55:16 UTC

     Case 1:17-cr-00011-CJW-MAR Document 25-2 Filed 07/31/17 Page 6 of 32
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                         Deleted
                                     false
                              Body ~ ..'!ill~\ Praise to God I miss you

                     Recipients AbouHaydar Yassine (100002594503606)
                                Basseni Herz (71804612)
                        Author Bassem Herz (71804612)
                          Sent 2014-07-24 23:55:28 UTC
                       Deleted false
                          Body rW ~ JS. Everything is fine

                     Recipients BassemHerz (71804612)
                                AbouHaydar Yassine (100002594503606)
                        Author AbouHaydar Yassine (100002594503606)
                           Sent 2014-07-24 23:55:30 UTC
                       Deleted false
                          Body ~ Put my mind at ease

                     Recipients Bassern Herz (71804612)
                                AbouHaydar Yassine (100002594503606)
                        Author AbouHaydlµ' Yassine (100002594503606)
                           Sent 2014-07-24 23:55:36 UTC
                       Deleted fi1Ise
                          Body "-:I Yeah

                     Recipients AbouHaydar Yassine (100002594503606)
                                Bassem Herz (71804612)
                        Author Bassem Herz (71804612)
                          Sent 2014-07-24 23:55:38 UTC
                       Deleted false
                          Body tjl.,J Quiet

                     Recipients BassemHerz (71804612)
                                AbouHaydar Yassine (100002594503606)
                        Author AbouHaydar Yassine (I 00002594503606)
                           Sent 2014-07-24 23:55:55 UTC
                       Deleted false
                          Body .i.l,i,J <...i:iS How is the family

                     Recipients BassemHerz (71804612)
                                AbouHaydar Yassine (100002594503606)
                        Author AbouHaydar Yassine (100002594503606)
                           Sent 2014-07-24 23:56:.2 4 UTC
                       Deleted false
                          Body ~..il., Did she give birth

                     Recipients AbouHaydar Yassine {100002594503606)
                                BasseniHerz (71804612)
                        Author Bassem Herz (71804612)
                          Sent 2014-07-24 23:57:,0 6 UTC
                       Deleted false
                          Body .lil\J .lo./ ';/ Not yet by God

                     Recipients AbouHaydar Yassine (100002594503606)
                                Bassem Herz (7 I 804612)
                        Author Bassem. Herz (7l'!;l04612)
                          Sent 2014-07-2423:57:38 UTC
                       Deleted false
                                                                                                       Body

            Case 1:17-cr-00011-CJW-MAR Document 25-2 Filed 07/31/17 Page 7 of 32
  -      - ~ - -~ - ~ J.          ~     ~      -=-   -=           -                    --   ~ ~       --   - ~   :

~ ~ 0
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-                -                 ~    - --         -                                          -~


                                        lhlt"l.&l 4.1.) iJ'1i But soon God Willing

                          Recipients BassemHerz (71804612)
                                     AbouHaydar Yassine (100002594503606)
                             Author AbouHaydarYassine (100002594503606)
                                Sent 2014-07-24 23 :57:41 UTC
                            Deleted false
                               Body ..._.~ .lill "1..,1j God Willing it will be fine

                          Recipients AbouHaydar Yassine (100002594503606)
                                     Bassem Herz (71804612)
                             Author Bassem Herz (71804612)
                               Sent 2014-07-2423:57:47 UTC
                            Deleted false
                               Body w_Jilt ~ . J l~ ul This is my number here

                          Recipients AbouHaydar Yassine (100002594503606)
                                     Bassem Herz (71804612)
                             Author Bassem Herz (71804612)
                               Sent 2014-07-24 23:57:59 UTC
                            Deleted false
                               Body 0013195737426

                         Recipients AbouHaydar Yassine (100002594503606)
                                    Bassem Herz (71804612)
                            Author Bassem Herz (71804612)
                              Sent 2014-07-24.23:58:13 UTC
                           Deleted false
                              Body ~l ~ How are you

                         Recipients BassemHerz (71804612)
                                    AbouHaydar Yassine (100002594503606)
                            Author AbouHaydarYassine (100002594503606)
                              Sent 2014-07-2423:58:19UTC
                           Deleted false
                                 Body ~_,l Okay

                         Recipients AbouHaydar Yassine ( 100002594503 606)
                                    Bassem Herz (71804612)
                            Author Bassem Herz (71804612)
                              Sent 2014-07-2423:58:19 UTC
                           Deleted false
                              Body _)l;i,.'JI _,.!; What 's up

                         Recipients BassemHerz (71804612)
                                    AbouHaydar Yassine (100002594503606)
                            Author AbouHaydar Yassine (100002594503606)
                              Sent 2014-07-24 23:58:39 UTC
                           Deleted false
                              Body i"w ~ Al! is w_e ll

                         Recipients BassemHerz (71804612)
                                    AbouHayd<\l" Yassine (100002594503606)
                            Author AbouHaydar Yassine (100002594503606)
                              Sent 2014-07-24 23:59:35 UTC
                           Deleted false
                              Body ~~I ~ ...b The way you left it before


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       _ - ~:        ~                   -                Facebook Business Record                          Page 1912
~         i-~- - - -~        ~ _: ~--        -~           ~   -             - ---                   =   :           -
                          Recipients
                                              Bassemilerz (71804612)
                                              AbouHaydar Yassine (100002594503606)
                             Author           AbouHaydar Yassine (100002594503606)
                               Sent           2014-07-24 23:59:43 Ute
                            Deleted           false
                                 Body         ~_;.l,,Ll I'm waiting for you

                          Recipients BassemHerz (71804612)
                                     AbouHaydar Yassine (100002594503606)
                             Author AbouHaydar Yassine (100002594503606)
                               Sent 2014-07-25 00:00:20 UTC
                            Deleted false
                               Body &1_.) ~1_.) •y Ji. ~ But this time we 're butting heads

                          Recipients BassemHerz (71804612)
                                     AbouHaydar Yassine (100002594503606)
                             Author AbouHaydar Yassine (100002594503606)
                               Sent 2014-07-25 00:00:52. Ute
                            Deleted false
                               Body '-¥ ~ Doyou understand

                          Recipients AbouHaydar Yassine (100002594503606)
                                     Bassem Herz (71804612)
                             Author Bassem Herz (71804612)
                               Sent 2014-07-25 00:01 :17UTC
                            Deleted false
                               Body .!l~ L. J:i... As you wish

                          Recipients Bass em Herz (71804612)
                                     AbouHaydar Yassine (100002594503606)
                             Author AbouHaydar Yassine (100002594503606)
                               Sent 2014-07-25 00:01:50 UTC
                            Deleted fals!;:
                               Body ~ ~ .!ll..:.J ~ Hey did he ask you for something

                         Recipients BassemHerz (71804612)
                                    AbouHaydar Yassine (100002594503606)
                            Author AbouHaydar Yassine ( 100002594503606)
                              Sent 2014-07-25 00:02: 17 UTC
                           Deleted false
                              Body t).ui::,,.I ~ 4_;;.;; ..,.1 Yeahpattner it 's better like this

                         Recipients Bass.e m Herz (71804612)
                                    AbouHaydar Yassine (100002594503606)
                            Author AbouHaydarYassine (100002594503606)
                              Sent 2014-07-25 00:02:54 UTC
                           Deleted false
                              Body ~_,! ~ Ul J shallfix the situation

                         Recipfonts AbouHaydar Yassine (100002594503606)
                                    Bassem Herz (71804612)
                            Author Bassem Herz (71804612)
                              Sent 2014-07-2500:03:24 UTC
                           Deleted false
                              Body J,....;..!1 wfo. It would be better

                         Recipients AbouHaydar Yassine (100002594503606)


                Case 1:17-cr-00011-CJW-MAR Document 25-2 Filed 07/31/17 Page 9 of 32
- -- i~- ~ ~- - _ ~ ~          _,: ~ ~ Facebook Business Record -=                    :-    :   ~~ ~   - :ge 1-9l3
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                              Bassem Herz (71804612)
                      Author Bassem Herz (718046i2)
                        Sent 2014-07-25 00:03:25 UTC
                     Deleted false
                       Body ~ r.;~ t..l~ ul Frankly I want us to benefit

                  Recipients AbouHaydar Yassine. (100002594593606)
                             Basseni Herz (71804612)
                     Author Bassem Herz (71804612)
                       Sent 2014-07-25 00:03:25 UTC
                    Deleted false
                       Body ~ i lh.l Both of us

                  Recipients BassemHerz (71804612)
                             AbouHaydar Y\15sine (100002594503606)
                     Author AbouHaydar Yassipe (100002594503606)
                       Sent 2014-07-25 00:03:59 UTC
                    Deleted false
                       Body 1.i,:i:.. ~ w.t.lb lll •->"1 ~~ Last time I got screwed

                  Recipients BassemHerz (71804612)
                             AbouHaydar Yassine (100002594503606)
                     Author AbouHaydar Yassine (100002594503606)
                       Sent 2014°07-25 00:04:16 UTC
                    Deleted false
                       Body ~ .a!IIIJ By God the Almighty

                  Recipients AbouHaydar Yassine (100002594503606)
                             Bassem Herz (71804612)
                     Author Bassem Herz (71804612)
                       Sent 2014-07-25 00:04:57 UTC
                    Deleted false
                       Body ~ I t)L.1.S tll :. ~ .!ll., ~~ l.ll I want you io benefit (ILL) I benefit too

                  Recipients BassemHerz (71804612)
                             AbouHaydar Yassine (100002594503606)
                     Author AbouH3;ydar Yassine {100002594503606)
                       Sent 2014-07-25 00:05:15 UTC
                    Deleted false
                       Body ~ Of course

                  Recipients BassemHerz (71804612)
                             AbouHayd;u- Yassine (100002594503606)
                     Author AbouHaydar Yassine (100002594503606)
                       Sent 2014-07-25 00:05:22 UTC
                    Deleted false
                       Body ~J'i It should

                 Recipients AbouHaydar Yassine (100002594503606)
                            Bassem Herz (71804612)
                    Author Bas.sem Herz (71804612)
                      Sent 2014--0 7-25 00:05:24 UTC
                   Deleted falsez
                      Body 1.iJjl.::i. ~ c:....11.l tll JAndl got screwed

                 Recipients BassemHerz (71804612)
                            AbouHaydar Yassine (100002594503606)
                    Author AbouHaydar Yassine ( 100002594503606)
                      Sent 2014~07-25 00:05:51 UTC

           Case 1:17-cr-00011-CJW-MAR Document 25-2 Filed 07/31/17 Page 10 of 32
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                      Deleted
                                false
                        Body \..l.J,.:i ~ I t ' s okay we learned

                Recipients AbouHaydar Yassine (100002594503606)
                           Bassem Herz (71804612)
                   Author Bassem Herz (71804612)
                     Sent 2014-07-25 00:06:21 UTC
                  Deleted false
                     Body ~True

                 Recipients BassemHerz (71804612)
                            AbouHaydar Yassine (100002594503606)
                    Author AbouHaydar Yassine ( 100002594503606)
                      Sent 2014-07-25 00:06:22 UTC
                   Deleted false
                      Body _):!i,,. .lill j : . ~ God Willing it's good

                Recipients AbouHaydar Yassine (100002594503606)
                           Bassem Herz (71804612)
                   Author Bassem Herz (71804612)
                     Sent 2014-07-25 00:06:37 UTC
                  Deleted false
                     Body . b ~ l ~ u.JA J~ Jl,..ll ~t..., \.ii I'm doing well I work here (ILL)

                Recipients AbouHaydar Yassine (100002594503606)
                           Bassem Herz (71804612)
                   Author Bassem Herz (71804612)
                     Sent 2014-07-25 00:06:49 UTC
                  Deleted false
                     Body ...,.~ ~ rs=- I'm picking up merchandise

                Recipients Bassem Herz (71804612)
                           AbouHa:ydar Yassine (100002594503606)
                   Author AbouHaydar Ya.ssine (100002594503606)
                     Sent 2014-07-2500:07:15 UTC
                  Deleted false
                     Body ~ ~ .,..=. d_;c, el.. ,yl Yeah, good, do you know what you will bring

                Recipients AbouHayc;lar Yassine (100002594503606)
                           Bassem Herz (71804612)
                   Author Bassem Herz (71804612)
                     Sent 2014-07-25 00:07:29 UTC
                  Deleted false
                     Body l,,,ui:i Almost

                R,ecipients BassemHerz (71804612)
                            AbouHaydar Yass.ine (100002594503606)
                   Author AbouHaydarYassine (100002594503606)
                      Sent 2014-07-25 00:08:07 UTC
                  Deleted false
                     Body .....,\l'-lii,p~ ~.I: 1:i1 ~JI Okay ifyou want anything ask me

               Recipients AbouHaydar Yassine (100002594503606)
                          Bassem Herz (71804612)
                  Author Bassem Herz (71804612)
                    Sent 2014-07-25 00:08:17 UTC
                 Deleted false


    Case 1:17-cr-00011-CJW-MAR Document 25-2 Filed 07/31/17 Page 11 of 32
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                                      Body
                                              o_,J.:...i.r.~ ~
                                              I brought nice merchandise

                            Recipients AbouHaydar Yassine (100002594503606)
                                       Bassem Herz (71804612)
                               Author Bassem Herz (71804612)
                                 Sent 2014-07-25 00:08:29 UTC
                              Deleted false
                                 Body uS,;,.; ~ _ji.jl What do you want?

                             Recipients BassemHerz (71804612)
                                        AbouHaydar Yassine (100002594503606)
                                Author AbouHaydar Yassine (100002594503606)
                                  Sent 2014-07-25 00:08:36 UTC
                               Deleted false
                                  Body Good

                            Recipients AbouHaydar Yassine (100002594503606)
                                       Bassem Herz (71804612)
                               Author Bassem Herz (71804612)
                                 Sent 2014-07-25 00:08:41 UTC
                              Deleted false
                                 Body 42 ~glock (ILL)

                            Recipients AbouHaydar Yassine (100002594503606)
                                       Bassem Herz (71804612)
                               Author Bassem Herz (71804612)
                                 Sent 2014-07-25 00:08:56 UTC
                              Deleted false
                                 Body 1.:i.,..Jy ~ ~l I~ This is the latest in the market

                             Recipients Bassem Herz (71804612)
                                        AbouH<'lydar Yassine (100002594503606)
                                Author AbouHaydar Yassine (100002594503606)
                                  Sent 2014-07-25 00:09:00 UTC
                               Deleted false-
                                  Body ~ ..#, Very well

                            Recipients Bassem Herz (71804612)
                                       AbouHaydar Yassine (100Q02594503606)
                               Author AbouHaydarYassine (100002594503606)
                                 Sent 2014-07-25 00:0-9:23 UTC
                              Deleted false
                                 Body c:,_,l,Ll... ~ With their magazines

                           Recipients AbouHaydar Yassiiie (100002594503606)
                                      Bassem Herz (71804612)
                              Author Bassem Herz (71804612)
                                Sent 2014-07-25 00:09:33 UTC
                             Deleted false
                                B_ody 41 Sure

                           Recipients BassemHerz (71804612)
                                       AbouHaydar Yassine (100002594503606)
                              Author AbouHaydar Yassine (100002594503606)
                                Sent 2014-07-25 00:09:49 UTC
                             Deleted false
                                Body J,_,by,. ~ t.. ~
                                      /fey do not bring cartridges
            Case 1:17-cr-00011-CJW-MAR Document 25-2 Filed 07/31/17 Page 12 of 32
       Recipients
                    AbouHaydar Yassine (100002594503606)
                    Bassem Herz (71804612)
          Author    Bassem Herz (71804612)
            Sent    2014~07-25 00: 10:03 UTC
         Deleted    false
            Body    ~ c.,S~ ~ fol What do you exactly want

       Recipients Bassem Herz (71804612)
                  AbouHaydar Yassine (100002594503606)
          Author AbouHaydarYassine (100002594503606)
            Sent 2014-07-25 00:10:12 UTC
         Deleted false
            Body .JA ~JS~ He's into everything

       Recipients AbouHaydar Yassine (100002594503606)
                  Bassem Herz (71804612)
          Author Bassem Herz (71804612)
            Sent 2014-07-25 00:10:16 UTC
         Deleted false
            Body ~IY-"' ~ ~ ~ l.j~ I .frankly want something that will bring a good price

       Recipients AbouHaydar Yassine (100002594503606)
                  Bassem Herz (71804612)
          Author Bassem Herz (71804612)
            Sent 2014-07-25 00:10:31 UTC
         Deleted false
            Body Baby eagle wl..S w;;o. I also brought

       Recipients AbouHaydar Yassine (100002594503606)
                  Bassem Herz (71804612)
          Author Bassem Herz (71804612)
            Sent 2014-07-25 00:10,41 UTC
         Deleted false
            Body wS~ JM fol ~ However what do you want

       Recipients BassemHerz (7I8046i2)
                  AbouHaydar Yassine (100002594503606)
          Author AbouHaydarYassiiie (100002594503606)
            Sent 2014-07-25 00:11 :03 UTC
         Deleted false
            Body u~ ....-l 'i~..JA Why do you bring these

       Recipients BassemHerz (71804612)
                  AbouHaydar Yassine (100002594503606)
          Author Abo11HaydarYassine (100002594503606)
            Sent 2014-07-25 00:11:23 UTC
         Deleted false
            Body U".,li ~ They make money

      Recipients AbouHaydar Yas!!.ine (100002594503606)
                 Bassem Herz (71804612)
         Author Bassem Herz (71804612)
           Sent 2014-07-25 00:11:45 UTC
        Deleted false
           Body 42 JI l.j~glock

      Recipients BassemHerz (71804612)


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                                          AbouHaydar Yassine (100002594503606)
                                   Author AbouHaydar Yassine ( 100002594503 606)
                                     Sent 2014-07-25 00:12:06 UTC
                                  Deleted false
                                    Body t.>"l.i..J i.:.i~ 1::i1 Jfyou bought them cheap

                            Recipients AbouHaydar Yassine (100002594503606)
                                       Basse'm Herz (71804612)
                               Author Bassem Herz (71804612)
                                 Sent 2014-07-25 00:12:13 UTC
                              Deleted false
                                 Body tjl......f, ~ ul.. ~ L. I~ These are not available as special order

                             Recipients BassemHerz (71804612)
                                        AbouHaydar Yassine (100002594503606)
                                Author AbouHaydar Yassine (100002594503606)
                                  Sent 2014-07-25 00:12:14 UTC
                               Deleted false
                                  Body .:il..i;...., And they 're new

                            Recipients AbouHaydar Yassine (100002594503606)
                                       Bassem Herz (71804612)
                               Author Bassem Herz (71804612)
                                 Sent 2014-07-25 Ob: 12:26 UTC
                              Deleted false
                                 Body u1S .:ii~ They 're all new

                            Recipients BassemHerz (71804612)
                                       AbouHaydar Yassine (100002594503606)
                               Author AbouHaydar Yassine (I 00002594503606)
                                 Sent 2014-07-25 00:12:59 UTC
                              Deleted false
                                 Body ~ ..iin.., ~.J ~ Between us, 1 swear to God the Almighty

                            Recipients BassemHerz (71804612)
                                       AbouHaydar YassiI).e (100002594503606)
                               Author AbouHaydar Yassine (1000025945036Q6)
                                 Sent 2014-07-25 00:13:23 UTC
                              Deleted false
                                 Body ~ ~ JA b~.J 1 swear on this preferred month

                            Recipients AbCJuHaydar Yassine (100002594503606)
                                       BassemHerz (71804612)
                               Author Bassem Herz (71804612)
                                 Sent 2014-07-25 00:13:37 UTC
                              Deleted false
                                 Body .!iii.., J.it...:. Truthful by God

                            Recipients BassemHerz (71804612)
                                       AbouHaydar Yassine (100002594503606)
                               Author AbouHaydar Yassine (100002594503606)
                                 Sent 2014-07-25 00:13:48 UTC
                              Deleted false
                                 Body ..l:>.1.,J -ii:-1.i'=' (ILL) /Qr someone

                            Recipients AbouHaydar Yassine (100002594503606)
                                       Bassem Herz (71804612)
                               Author Bassem Herz (71804612)
                                 Sent 2014-07-25 00:14:13 UTC

          Case 1:17-cr-00011-CJW-MAR Document 25-2 Filed 07/31/17 Page 14 of 32
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                                      Deleted
                                                    false
                                           Body ~ I.... J didn't understand

                                 Recipients Bassemi-Ierz (71804612)
                                            AbouHaydar Yassine (100002594503606)
                                    Author AbouHaydar Yassine (100002594503606)
                                      Sent 2014-07-25 00:14:56 UTC
                                   Deleted false
                                      Body B2ade 7a2 Jwa7d J want (ILL) for someone

                                Recipients AbouHaydar Yassine (100002594503606)
                                           Bassem Herz (71804612)
                                   Author Bassem Herz (71804612)
                                     Sent 2014-07-25 00:14:57 UTC
                                  Deleted false
                                     Body ~ lll .J <:!I~ _,.J, ~.fa. .:.,,;\ ~ L. Oh brother you tell me what you want and I shall get you

                                Recipients Bassem Herz (71804612)
                                           AbouHaydar Yassine (100002594503606)
                                   Author AbouHaydar Yassine (100002594503606)
                                     Sent 2014-07-25 00:15:11 UTC
                                  Deleted false
                                     Body Hawnik Over there

                                Recipients BassemHerz (71804612)
                                            AbouHaydar Yassine (100002594503606)
                                   Author AbouHaydar Yassine (100002594503606)
                                     Sent 2014-07-25 00:15:24 UTC
                                  Del.e ted false
                                     Body Hode lejbton Why did you get these

                                Recipients AbouHaydar Yassine (100002594503606)
                                           Bassem Herz (71804612)
                                   Author Bassetn Herz (71804612)
                                     Sent 2014-07-25 00:15:32 UTC
                                  Deleted false
                                     Body ~ They 're expensive

                                Recipients Bassem Herz {71804612)
                                           AbouHaydar Yassine (100002594503606)
                                   Author AbouHaydarYassine (100002594503606)
                                     Sent 2014-07-25 00:15:45 UTC
                                  Deleted false
                                     Body Ta2rib~ Almost

                                Recipients BassemHerz (71804612)
                                           AbouHaydar Yassine (100002594503606)
                                   Author AbouHaydar Yassine (100002594~03606)
                                     Sent 2014-07-25 00:16:07 UTC
                                  Deleted false
                                     Body La elak ade bynbe3 hon Let me tell you how much it sells here

                                Recipients AbouHaydar Yassine (100002594503606)
                                           Basse.Ill .Herz (71804612)
                                   Author Bassem Herz (71804612)
                                     Sent 2014-07-25 00:16:26 UTC
                                  Deleted false
                                                                                                                                                 Body
                                               h     i;~I ~ I c.fo,. u,,\.P., ~ I Yo   It is difficult to get them it is not important how much they
               Case 1:17-cr-00011-CJW-MAR
                               cost       Document 25-2 Filed 07/31/17 Page 15 of 32
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~ i_~ - ~- -             :-      =     -   ~   ·_       ~      -              -              -    - -    :   ~~- -        ~ ~~--       J



                              Recipients Bassem Herz (71804612)
                                         AbouHaydar Yassine (100002594503606)
                                 Author AbouHaydar Yassine ( 100002594503606)
                                   Sent 2014-07-25 00:16:28 UTC
                                Deleted false
                                   Body Lekjeb kambeer Look he brought a few beer

                              Recipients AbouHaydar Yassine (100002594503606)
                                         Bassem Herz (71804612)
                                 Author Bassem Herz (71804612)
                                   Sent 2014-07-25 00:16:41 UTC
                                Deleted false
                                   Body Ma bade jeeb kamber 1 want to bring a few beer

                              Recipients Bassem Herz (71804612)
                                         AbouHaydar Yassine (100002594503606)
                                 Author AbouHaydar Yassine (100002594503606)
                                   Sent 2014-07-25 00:16:49 UTC
                                Deleted false
                                   Body Leh Why

                              Recipients AbouHaydar Yassine (100002594503606)
                                         Bassem Herz (71804612)
                                 Author Bassem Herz (71804612)
                                   Sent 2014-07-25 00:17:02 UTC
                                Deleted false
                                   Body Galee w ma 3taytone fe se3er b lebna Expensive and 1 didn't give them a price for them

                              Recipients AbouHaydar Yassine (100002594503606)
                                         Bassem Herz (71804612)
                                 Author Bassem Herz (71804612)
                                   Sent 2014-07-25 00:17:11 UTC
                                Deleted false
                                   Body 3refet kee:f You see

                              Recipients AbouHaydar Yassine (100002594503606)
                                         Bassem Herz (71804612)
                                 Author Bassem Herz (71804612)
                                   Sent 2014-07-25 00:17:32 UTC
                                Deleted false
                                   Body Kteer gale w so3ro ya balaeesh akhadtoo It's very expensive and 1 bought it at a very
                                   cheap price

                              Recipients Bassem Herz (71804612)
                                         AbouHaydar Yassine (100002594503606)
                                 Author AbouHaydarYassine' (100002594503606)
                                   Sent 2014-07-2500:17:38 UTC
                                Deleted false
                                   Body Hal mara ana ra7 bi3 This time I'm going to sell

                          Recipients AbouHaydar Yassine (100002594503606)
                                     Bassem Herz. (71804612)
                             Author Bassern .Herz (71804612)
                               Sent 2014-07-25 00:18:13 UTC
                            Deleted false
                               Body Bazboot bas hayderk I mara ans dafe3 fee d ma into da:fa3tole fee 3refet keef
                                     True but last time (ILL) paid ajee as much as you paid him a fee you see


                Case 1:17-cr-00011-CJW-MAR Document 25-2 Filed 07/31/17 Page 16 of 32                                                1919
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                                                                                                                        --~-=- :::
                              Recipients
                                              BassemHerz (71804612)
                                              AbouHaydarY assine ( 100002594503 606)
                                  Author      AbouHaydar Yassine (100002594503606)
                                    Sent      2014-07-25 00:18: 16 UTC
                                 Deleted      false
                                       Body   Fe wa7ad esmo body ghard There is someone called body guard

                               Recipients AbouHaydar Yassine (100002594503606)
                                          BassemHerz (71804612)
                                  ·Author Bassem Herz (71804612)
                                    Sent 2014-07-25 00:18:21 UTC
                                 Deleted false
                                    Body Kimber kteef gale A few beers are expensive

                              Recipients AbouHaydar Yassine (i00002594503606)
                                         Bassem Herz (71804612)
                                 Author Bassem Herz (71804612)
                                   Sent 2014-07-25 00: 18:28 UTC
                                Deleted false
                                   Body Jebet menno kteer I got a lot from him

                              Recipients AbouHaydar Yassine (100002594503606)
                                         Bassem Herz (71804612)
                                 Author Bassem Herz (71804612)
                                   Sent 2014-07-25 00:18:36 UTC
                                Deleted false
                                   Body W fee menno bakar Kaman it comes in beefas well

                              Recipients BassemHerz (71804612)
                                         AbouHaydar Yassine (100002594503606)
                                 Author AbouHaydar Yassine (100002594503606)
                                   Sent 2014-07-25 00:18:45 UTC
                                Deleted false
                                   Body Salas bale That's it (ILL)

                              Recipients BassemHerz (71804612)
                                         AbouHaydar Yassine (100002594503606)
                                 Author AbouHaydar Yassine (100002594503606)
                                   Se.nt 2014-07-25 00:18:59 UTC
                                Deleted false
                                   Body Ana le 3am es2alak I'm the one asking you

                              Recipients BassemHerz (71804612)
                                         AbouHaydar Yassine (100002594503606)
                                 Author AbouHaydar Yassine (100002594503606)
                                   Sent 2014-07-25 00:19:19 UTC
                                Deleted false
                                   Body B2ade lwa7ad men Jglog (ILL)

                              Recipients AbouHaydar Yassine (I 00002594503606)
                                         Bassem Herz (71804612)
                                 Author Bassern Herz (71804612)
                                   Sent 2014-07-25 00:19:23 UTC
                                Deleted false
                                   Body Asde I body guardjebet menno kteef I mean I got a lot from the body guard

                              Recipients AbouHaydar Yassine (100002594503606)


                Case 1:17-cr-00011-CJW-MAR Document 25-2 Filed 07/31/17 Page 17 of 32
 ~-     :-   :       -          -         - -   _-;;._   -    -    -    -    .::::   -   -   --                           -    _-
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                                    Bassem Herz (71804612)
                             Author Bassern Herz (71804612)
                               Sent 2014-07-25 00:19:35 UTC
                            Deleted false
                              Body W jebet glock 19 gen 4 I brought (ILL)

                         Recipients Bassem Herz (71804612)
                                    AbouHaydar Yassine (100002594503606)
                            Author AbouHaydar Yassine ( 100002594503606)
                              Sent 2014-07-25 00:19:51 UTC
                           Deleted false
                              Body Hayda b2ade This is after me

                         Recipients AbouHaydar Yassine (100002594503606)
                                    Bassem Herz (71804612)
                            Author Bassem Herz (71804612)
                              Sent 2014-07-25 00:19:55UTC
                           Deleted false
                              Body Hebet bda3a 7ekwe kteef I liked a merchandise that is very pretty

                         Recipients AbouHaydar Yassine (100002594503606)
                                    BassemHerz (71804612)
                            Author Bassem Herz (71804612)
                              Sent 2014-07-25 00:20:09 UTC
                           Deleted false
                              Body 7elwe Nice

                         Recipients BassemHerz (71804612)
                                    AbouHaydar Yassine (100002594503606)
                            Author AbouHaydarYassirte (100002594503606)
                              Sent 2014-07-25 00:20:11 UTC
                           Deleted false
                              Body La elak ade hon Let me tell you how much it is here

                         Recipients AbouHaydar Yassine (100002594503606)
                                    Bassem Hetz (71804612)
                            Author Bassem Herz (71804612)
                               Sent 2Q14-07-25 00:20:46 UTC
                           Deleted false
                              }Jody Ana khayee fi;ide bade istafeedsara7aJ am available, my brother 1 want to benefit
                             frankly speaking

                         Recipients AbouHaydat Yassine (100002594503606)
                                    Bassem Herz (71804612)
                            Author Bassem Herz (71:804612)
                              Sent 2014-07-25 00:20:52 UTC

                           Deleted false
                             Body W inta Kaman And you too

                         Recipients Bassem Herz (71~04(512)
                                    AbouHaydar Yassine (100002594503606)
                            Author AbouHaydar Yassine (100002594503606)
                              Sent 2014-07-25 00:21:12 UTC
                           Deleted false
                             Body 3am elak hal rnara gher 1 'm telling you this time it's different

                      Recipients AbouHaydar Yassine (100002594503606)
                                 Bassem Herz (7180461.2)
                         Author Bassem Herz (71804612)
             Case   1:17-cr-00011-CJW-MAR         Document
                           Sent 2014-07-25 00:21:17  UTC      25-2 Filed                         07/31/17 Page 18 of 32
            Deleted
                      false
               Body Fa iza badak ne7na bneshtegel sawa So   ifyou want we shall work together
         Recipients BassemHerz (71804612)
                    AbouHaydar Yassine (100002594503606)
            Author AbouHaydarYassine (100002594503606)
              Sent 2014-07-25 00:21 :26 UTC
           Deleted false
              Body Eh Yeah

         Recipients BassemHerz (71804612)
                    AbouHaydar Yassine (100002594503606)
            Author AbouHaydar Yassine (100002594503606)
              Sent 2014-07-25 00:21:39 UTC
           Deleted false
              Body Ma 3end machk:al I don't have any problem

         Recipients AbouHaydar Yassine (100002594503606) .
                    Bassem Herz (71804612)
            Author Bassem Herz (71804612)
              Sent 2014-07-25 00:21 :55 UTC
           Deleted false
              Body Sra7a inta insan mo7tar~m Frankly you are a respectful person

         Recipients AbouHaydar Yassine (100002594503606)
                     BassemHerz (71804612)
            Author Bassem Herz (71804612)
              Sent 2014-07-25 00:22:20 UTC
           Deleted false
              Body Khalas lakan izz badak she 2eke ana bjeebo So   ifyou want anything tell me and I shall
              get it

         Recipients BassemHerz (71804612)
                    AbouHaydar Yassine (100002594503606)
            Author AbouHaydar Yassine (100002594503606)
              Sent 2014-07-25 00:22:23 UTC
           Deleted fals.e
              Body Habibi allaah y5alik ya rab My dear may God preserve you oh Lord

         Recipients AbouHaydar Yassine (100002594503606)
                     BassemHerz (71804612)
            Author Bassem Herz (71804612)
               Sent 2014-07-25 00:22:37 UTC
           Deleted false.
              Body 3refet keef 2eley sho badak w ana bjeebo You see; tell me whatever you want and I
              shall get it

         Recipients BassemHerz (71804612)
                    AbouHaydar Yassine (100002594503606)
            Author AbouHaydarYassine (100002594503606)
               Sent 2014-07-25 00:23:40 UTC
           Deleted false
              Body Lek chrek chu btle2e chi 710 wmayaz wma ykoun ghale jebo Hey partner    ifyou find
              something nice and distinctive and inexpensive as well please get it

         Recipients BassemHerz (71804612)
                    AbouHaydar Yassine (100002594503606)
            Author AbouHaydarYassine (1000~2594503606)
              Sent 2014-07-25 00:23:48 UTC
Case   1:17-cr-00011-CJW-MAR
           DeJeted false              Document 25-2 Filed          07/31/17 Page 19 of 32
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  ~          ~--                               Facebook Bus~ ess Record                  _ ~ ~ " Page_-_~923
  :;:-                                                       -                           -   - -     -       - -
                       Body
                              Klobynbe3
                              It all se1/s out.

                 Recipients BassemHerz (71804612)
                            AbouHaydar Yassine (100002594503606)
                    Author AbouHaydar Yassine (100002594503606)
                      Sent 20i4-07-25 00:24:34 UTC
                   Deleted false
                      Body Lek ana 17aj ma ra7 elo Hey 1 'm not going to tell the hajj

                 Recipients BassemHerz (71804612)
                            AbouHaydar Yassine (100002594503606)
                    Author AbouHaydar Yassine (100002594503606)
                      Sent 2014-07-25 00:24:54 UTC
                   Deleted false
                      Body Ana brawo7on I shall sell them out

                 Recipients BassemHerz (71804612)
                            AbouHaydar Yassine (100002594503606)
                    Author AbouHaydar Yassine (100002594503606)
                      Sent 2014-07-25 00:25:24 UTC
                   Deleted false
                      Body Ana ghlotot haydik lmara I was mistaken last time

             Recipients AbouHaydar Yassine (100002594503606)
                        Bassem Herz (71804612)
                Author Bassem Herz (71804612)
                  Sent 2014-07-25 00:25:37 UTC
               Deleted false
                  Body Ok mete1 ma badak Ok as you wish

             Recipients AbouHaydar Yassine (100002594503606)
                        Bassem Hetz (71804612)
                Author Bassem Herz (71804612)
                  Sent 2014-07-2500:25:45 UTC
               Deleted false
                  Body Ana b khedmtak I'm at your service

             Recipients Bassem Herz (71804612)
                        AbouHaydar Yassirie (100002594503606)
                Author AbouHaydar Yassine ( 100002594503606)
                  Sent 2014-07-25 00:26:10 UTC
               Deleted falsie
                  Body 5alass tkel 3ala, allaab That's it rely on God

             Recipients BassemHerz (71804612)
                         Abo.uHaydar Yassine (100002594503606)
                Author Aboul:{aydar Yassine (100002594503606)
                   Sent 2014-07-25 00:27:02 UTC
               Deleted false
                  Body Lak ele lglok b2ade barke b2laakjeb kel lbda3a glok Hey (ILL) maybe I'll go and get
                  (ILL) merchandise

             Re.c ipients Basse;m Herz (71804612)
                          AbouHaydar YassiI.1e (]00002594503606)
                 Author AbouHaydar Y~sine ( I 00002594503 606)
                    Se11t 2014~07-25 00:27:25 UTC
               Deleted fals.e
                    Body Ma 3am elak badna bcbrghil I've been telling you (ILL)
Case 1:17-cr-00011-CJW-MAR Document 25-2 Filed 07/31/17 Page 20 of 32
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                                Recipients
                                             Bassem Herz (71804612)
                                             AbouHaydar Yassine (100002594503606)
                                   Author    AbouHaydar Yassine (100002594503606)
                                     Sent    2014-07-25 00:28:04 UTC
                                  Deleted    false
                                     Body    B2elak eza btwafe J will tell you if it's worth it

                                Recipients AbouHaydar Yassine (1000025945-03606)
                                           Bassem Herz (71804612)
                                   Author Bassem Herz (71804612)
                                     Sent 2014-07-25 00:30:07 UTC
                                  Deleted false
                                     Body Inta ade btakhod mene I glock b lebnan How much will you charge me (ILL) in
                                     Lebanon

                                Recipients BassemHerz (71804612)
                                           AbouHaydar Yassine ( 100002594503606)
                                   Author AbouHaydarYassine (100002594503606)
                                     Sent 2014-07-25 00:32:03 UTC
                                  Deleted false-
                                     Body 7asab kel wa7ad elo se3er It depends to each its price

                                Recipients BassemHerz (71804612)
                                           AbouHaydar Yassine (100002594503606)
                                   AuthQr AbouHaydar Yassine (100002594503606)
                                     Sent 2014-07-25 00:32:52 UTC
                                  Deleted false
                                     Body 18 g4 chi 375018g4 is. approximately 3750

                                Recipients Bassem Herz (71804612)
                                           Aboul-Jaydar Yassine (100002594503606)
                                   Author AbouHaydar Yassine (100002594503606)
                                     Sent 2014-07-2500:33:08 UTC
                                  Deleted false
                                     Body Hayda hek bi3o This one you sell like this

                                Recipients BassemHerz (71804612)
                                           AbouHaydar Yassine (100002594503606)
                                   Author Ab.ouHaydar Yassine (100002594503606)
                                     Sent 2014-07-25 00:33:18 UTC
                                  Deleted false
                                     Body Ana Jal tjer I'm the bu,sinessman

                                Recipients BassemHerz (71804612)
                                           AbouHaydar Yass_ine (100002594503606)
                                   Author AbouHaydlil' Yassine (100002594503606)
                                     Sent 2014-07-;25 00:33:29 UTC
                                  Deleted false
                                     Body Mni7 Good

                            Recipients BassemHerz (71804612)
                                       AbouHaydar Yassine {100002594503606)
                               Author AbouHaydar Yassine (100002594503606)
                                 Sent 2014-07-25 00:33:55 UTC
                              Deleted false
                                 Body Hwe hawnik ma 7a2o ha12ao Over there it doesn't cost that much

                            Recipients Bassem Herz {71804612)

              Case 1:17-cr-00011-CJW-MAR Document 25-2 Filed 07/31/17 Page 21 of 32
_r_-          -: " ,:              ~:c   "~ ; _a-;ebook Business Recor~         ~-~    - Pige 1925~;~
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                                AbouHaydar Yassine (100002594503606)
                      Author    AbouHaydar Yassine (100002594503606)
                        Sent    2014-07-25 00:34:04 UTC
                     Deleted    false
                         Body   Mazbout Correct

                   Recipients BassemHerz (71804612)
                               AbouHaydar Yassine (100002594503606)
                      Author AbouHaydar Yassine ( 100002594503606)
                         Sent ·2014-07-28 21:43:37 UTC
                     Deleted false
                        Body fa. L'.lllJ .:i..r- JS Happy holidays

                   Recipients AbouHaydar Yassine (100002594503606)
                              Bassem Herz (71804612)
                      Author Bassem Herz (71804612)
                        Sent 2014-07-28 22:56:29 UTC
                     Ddeted false
                        Body W 8nta bkherr ya sa7be The same to you my friend

                   Recipients AbouHaydar Yassine (100002594503606)
                              BassemHerz (71804612)
                      Author Bassem Herz (71804612)
                        Sent 2014-07-28 22:57:.2 6 UTC
                     Deleted false
                        Body W 3ala 3ayltak ya rab And to your family as well

                   Recipients BassemHerz (71804612)
                              AbouHaydar Yassine (100002594503606)
                      Author AbouHaydar Yassine (100002594503606)
                         Sent 2014-11-21 07:12:43 UTC
                     Deleted false
                        Body Bonjour Good morning

                   Recipients AbouHaydar Yassin:e (100002594503606)
                              Bassem HerZ (71804612)
                      Author Bassem Herz (71804612)
                        Sent 2014-11-22 04:09:07 UTC
                     Deleted false
                        Body Bonjoureen Good morning to you

                   Recipients BassemHerz (71804612)
                              AbouHaydar Yassine (100002594503606)
                      Author AbpuHaydarYassine (100002594503606)
                        Sent 2014-11 -2218:51:40 UTC
                           IP 92.62.170.83
                     Deleted false
                         Body
             Attachments sticker.png (722697531160057)
                                      Type image/png
                                      Size 0
                                       URL bttps://attachment.fbsbx.com/messaging_ attachment.php?aid=722
                                            697531 l 60057&mid=mid.1416682300695%3A981264d6d7e2ce5e
                                            62&uid=718046 l2&accid=71804612&preview=O&hash=AQCSXj W
                                            6HFGNjlCbxHUQA3i:nl50UcAOikL YAoK_DMCrwNeg




        Case 1:17-cr-00011-CJW-MAR Document 25-2 Filed 07/31/17 Page 22 of 32
         Recipients Bassem Herz (71804612)
                    AbouHaydat Yassine (100002594503606)
            Author AbouHaydarYassine (100002594503606)
               Sent 2014-11 -2218:52:53 UTC
           Deleted false
              Body Habibi rayiss chu wen ma 3am nsma3 sawtak hada mza3laak chi Hey boss why we 're
              not hearing from you did anyone upset you

         Recipients AbouHaydar Yassine (100002594503606)
                    Bassem Herz (71804612)
            Author Bassem Herz (71804612)
              Sent 2014-11-2220:47:18 UTC
           Deleted false
              Body Lah ya lhayee 3a rasi wala bas wala ashgal w heek No my brother it 's okay wfth me by
              God I have been busy etc

         Recipients AbouHaydar Yassine (100002594503606)
                    Bassem Herz (71804612)
            Author Bassem Herz (71804612)
              Sent 2014-11-2220:47:26 UTC
           Deleted false
              Body Keefak w sho akhbarak How are you and what are you doing

         Recipients BassemHerz (71804612)
                    AbouHaydar Yassine (100002594503606)
            Author AbouHaydar Yassine (100002594503606)
               Sent 2014-12-1118:14:51 UTC
           Deleted false
              Body Hi

         Recipients AbouHaydar Yassine (100002594503606)
                    Bassem Herz (71804612)
            Author Bassem Herz (71804612)
              Sent 2014-12-1118:15:14 UTC
           Deleted false
              Body Hayeen Hi twice

         Recipients AbouHaydar Yassine {100002594503606)
                    Bass.e m Herz (71804612)
            Author Bassem Hetz (71804612)
              Sent 2014-12-11 18:15:19 UTC
           Deleted false
              Body Keefak haj How are you hajj

         Recipients BassemHerz (71804612)
                     AbouHaydar Yassine (100002594503606)
            Author AbouHaydar Yassine ( 100002594503606)
               Sent 2014- 12-11 18:15:42 UTC
           Dele.t ed false
              Body Walaaaw 5ayak lsgher ana Come on I'm your younger bro.ther

         Recipients BassemHerz (71804612)
                    AbouHaydar Yassine (100002594503606)
            Author AbouHaydar Yassine ( 100002594503606)
Case   1:17-cr-00011-CJW-MAR         Document
               Sent 2014-12-1118:16:18  UTC      25-2 Filed      07/31/17 Page 23 of 32
    ~                    -        ~         :--                      -   7                   ~ ~                       -   -   -    ~
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-        -_                                 -      -                                         -   --                            ::   '-

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                                         Deleted
                                                     false
                                           Body Kifak kifo hayoura How are you How is (ILL)

                                      Recipients AbouHaydar Yassine (100002594503606)
                                                 Bassem Herz (71804612)
                                         Author Bassem Herz (71804612)
                                           Sent 2014-12- 1118:16:3·6 UTC
                                        Deleted false
                                           Body 3a rase inta ya haj It's fine with me oh haj

                                      Recipients BassemHerz (71804612)
                                                 AbouHaydar Yassine (100002594503606)
                                         Author AbouHaydar Yassine (100002594503606)
                                           Sent 2014-12-11 18:16:38 UTC
                                        Deleted false
                                           Body Haydora (ILL)

                                      Recipients AbouHaydar Yassine (100002594503606)
                                                 Bassem Herz (71804612)
                                         Author Bassem Herz (71804612)
                                           Sent 2014-12- 1118:16:53 UTC
                                        Deleted false
                                           Body Khayee 1kbeer walaw 2eemtak kbeere My big.brother your value is high

                                      Recipients AbouHaydar Yassine (100002594503606)
                                                 Bassem Herz (71804612)
                                         Author Bassem Herz (71804612)
                                           Sent 2014-12-1118:16:57 UTC
                                        Deleted false
                                           Body Mashe I 7al It 's fine

                                      Recipients AbouHaydar Yassine (100002594503606)
                                                 Basserri. Herz (71804612)
                                         Author Bassem Herz (71804612)
                                           Sen.t 2014-12- 11 18:17:03 UTC
                                        Deleted false
                                           Body L hamdela kel she tamam Praise to God everything is fine

                                      Recipients BassemHe12 (71804612)
                                                  Abo~Haydar Yassin<;: (100002594503606)
                                         Author AbouHaydarYassine (100002594503606)
                                           Sent 2014-12- 1118:17:23 UTC
                                        Deleted false
                                           Body Habibi wallaah hek I3atab ad lmhabe My dear by God a friendly reproach equals
                                           affection                                                 ·

                                      Recipients AbouHaydar Yassine (100002594503606)
                                                 Bassem I:{e,:z (71804612)
                                         Au1;bor Bassem Herz (71804612)
                                           Sent 2014-12,- 11 18:17:23 UTC
                                        Deleted false
                                           Body Inta keefak How are you

                                      Redpients BassemHerz (71804612)
                                                AbouHaydar Yassine (100002594503606)
                                         Author AbouHaydar Yassine (1000025945036b6)
                                           Sent 20l4-12-ll 18:17:35UTC
                                        Deleted false

                        Case 1:17-cr-00011-CJW-MAR Document 25-2 Filed 07/31/17 Page 24 of 32
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                                       Facebook Business Record .
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                             Lhamdellaaah
                             Praise to God

               Recipients AbouHaydar Yassine (100002594503606)
                          Bassem Herz (71804612)
                  Author Bassem Herz (71804612)
                    Sent 2014-12-1118:17:55 UTC
                 Deleted false
                    Body Sho I akhbar What's up

               Recipients Basserri Herz (71804612)
                          AbouHaydar Yassihe (100002594503606)
                  Author AbouHaydar Yassjne (100002594503606)
                     Sent 2014-12-1118:18:03 UTC
                 Deleted false
                    Body Keio tamem All is well

               Recipients AbouHaydar Yassine (100002594503606)
                          Bassem Herz (71804612)
                  Author Bassem Herz (71804612)
                    Sent 2014-12-1118:18:09 UTC
                 Deleted false
                    Body Eh wala Yeah by God

               Recipients Bassem Herz (71804612)
                          AbouHaydar Yassine (100002594503606)
                  Author AbouHaydarYassine (100002594503606)
                    Sent 2014-12-1118:18:23 UTC
                 Deleted false
                    Body Mchta2Iaak I miss you

               Recipients Basseiil Herz (718046 I 2)
                          AbouHaydar Yassine (100002594503606)
                  Author AbouHaydar Yassine (100002594503606)
                     Sent 2014-12-11 18:18:46 UTC
                 Deleted false
                    Body Kifo Ihaj ali salmlee 3Ieee ffow is haj Ali give him my regards

               Recipients AbouHaydar Yassine (100002594503606)
                          Bassem Herz (71804612)
                  Author Bassem Herz (71804612)
                    Sent 2014-12-11 18:18:55 UTC
                 J)elded false
                    Body Alah ysalmak May God Keep you safe

               Recipients AbouHaydar Yassine (100002594503606)
                          BassemHerz (71804612)
                  Author Bassem Herz (71804612)
                    Sent 2014-12-1118:19:17 UTC
                 Deleted false
                    Body Mashe 7aloo wosel men she, joma3a ta2reeban He 'sfine he arrived approximately a
                    week ago

               Recipients BassemHerz (71804612)
                          AbouHaydar Yassine (100002594503606)
                  Author AbouHaydar Yassine ( 100002594503606)
                     Sent 2014-12-1118:19:17 UTC
                 Deleted false.
                    Body Habibi ya rayiss You are dear to me oh boss
      Case 1:17-cr-00011-CJW-MAR Document 25-2 Filed 07/31/17 Page 25 of 32
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    ;-              -:: - -~         :.    :--=         -                                 .   -=       -          -_;- : ~                 :
                               Recipients
                                                   Bass.e m Herz (71804612)
                                                   AbouHaydar Yassine (100002594503606)
                                      Author       AbouHaydar Yassine (100002594503606)
                                        Sent       2014-12-11 18:19:32 UTC
                                     Deleted       false
                                          Body     Eh ba3riff Yeah I know

                               Recipients BassemHerz (71804612)
                                          AbouHaydar Yassine (100002594503606)
                                  Author AbouHaydar Yassine (100002594503606)
                                     Sent 2014-12-11 18:19:46 UTC
                                 Deleted false
                                    Body Tlo3et Ia 3endo I went to him

                               Recipients AbouHaydar Yassine (100002594503606)
                                          Bassem Herz (71804612)
                                  Author Bassem Herz (71804612)
                                    Sent 2014-12-11 18:20:05 UTC
                                 Deleted false
                                    Body Eh mazbootkhaberne Yeah it's true he told me

                               Recipients AbouHaydar Yassine (100002594503606)
                                          BassemHerz (71804612)
                                  Author Bassem Herz (71804612)
                                    Sent 2014-12-1118:20:17UTC
                                 Deleted false
                                    Body Leesh 3azabto 7alkon Why did you bother so much

                               Recipients Bassem Herz (71804612)
                                          AbouHaydar Yassine (100002594503606)
                                  Author AbouHaydar Yassine (100002594503606)
                                     Sent 2014-12-1118:20:31 UTC
                                 Deleted false
                                    Body Habibi My dear

                               Recipients AbouHaydar Yassine (100002594503606)
                                          Bassem Herz (71804612)
                                  Author Bassem Herz (71804612)
                                    Sent 2014-12-1118:20:51 UTC
                                 Deleted false
                                    Body Eh wala Yeah by God

                               ~ecipients AbouHaydar Yassine (100002594503606)
                                          Bassem Herz (71804612)
                                  Author Bassem Herz (71804612)
                                     Sent 2014-12-11 18:21:05 UTC
                                 Deleted false
                                    Body Wala arta bala:shet sliegel By God1 started work

                               Recipie,nts AbouHaydar Yassine (100002594503606)
                                           Bassem Herz (71804612)
                                  Author Bassem Herz (71804612)
                                    Sent 2014-12-11 18:21 :25 UTC
                                 Deleted false
                                    Body 3am lem I'm collecting

                               Recipients BassemHerz (71804612)


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                                                AbouHaydar Yassine (100002594503606)
                              Author            AbouHaydar Yassine (100002594503606)
                                Sent            2014-12-1118.:45:11 UTC
                             Deleted            false
                                  Body          Yalaa allaah ywafe2 Come on may God grant you success

                      Recipients AbouHaydar Yassine (100002594503606)
                                 Bassem Herz (71804612)
                         Author Bassem Herz (71804612)
                           Sent 2014-12-11 18:46:26 UTC
                        Deleted false
                           Body La nsafe2 Let's (ILL)

                       Recipients BassemHerz (71804612)
                                  AbouHaydar Yassine (100002594503606)
                          Author AbouHaydarYassine (100002594503606)
                            Sent 2015-02-28 21 :28:00 UTC
                         Deleted false
                            Body Sa!Am Greetings

                       Recipients BassemHerz (71804612)
                                  AbouHaydar Yassine ( I 00002594503 606)
                          Author AbouHaydar Yassine (100002594503606)
                            Sent 2015-02-28 21 :28:11 UTC
                         Deleted false
                            Body Kifo abo haydar How is Abou Haydar

                       Recipients BassemHerz (71804612)
                                  AbouHaydar Yassine (100002594503606)
                          Author AbouHaydar Yassine (100002594503606)
                            Sent 2015-02-28 21:28:49 UTC
                         Deleted false
                            Body W aynaaak bet ghib Where have you been

                      Recipients Bassem Herz (71804612)
                                 AbouHaydar Yassine (100002594503606}
                         Author AbouHaydar Yassine (100002594503606)
                           Sent 2015-02-2821:37:13 UTC
                        Deleted false
                           Body Bassem

                      Recipients AbouHaydarYassine (100002594503606)
                                  Bassem Herz (71804612)
                         Auth<:>r Bassem Herz (71804612)
                           Sent 2015-03-01 04:38:33 UTC
                        Deleted false
                           Body Habibi My dear

                      Recipients AbouHaydar Yassine (100002594503606)
                                 Bassem Herz (71804612)
                         Author Bassem Herz (71804612)
                           Sent 2015-03-01 04:38 :37 UTC
                        Deleted false
                           Body Keefak How are you

                      Recipients Bassem Herz (71804612)
                                 AbouHaydar Yassine (100002594503606)
                         Author AbouHaydarYassine (100002594503606)
                           Sent 2015-03-01 09:43:42 UTC

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                            Deleted
                                      false
                                 Body Bonjour Good morning

                      Recipients Bassemfierz (71804612)
                                 AbouHaydar Yassine (100002594503606)
                         Author AbouHaydar Yassine (100002594503606)
                            Sent 2015-03-01 09:43:55 UTC
                        Deleted false
                           Body Aymtan jet When did you come

                      Recipients BassemHerz (71804612)
                                 AbouHaydar Yassine (100002594503606)
                         Author AbouHaydarYassine (100002594503606)
                            Sent 2015-03-01 09:44:46 UTC
                        Deleted false
                           Body Wallaah mechta2laak By God I miss you

                      Recipients BassemHerz {71804612)
                                 AbouHaydar Yassine (100002594503606)
                         Author AbouHaydar Yassine (100002594503606)
                            Sent 2015-03-01 10:27:45 UTC
                        Deleted false
                           Body Alo Hello

                      Recipients AbouHaydar Yassine_(100002594503606)
                                 Bassem Herz (71804612)
                         Author Bassem Herz (71804612)
                           Sent 2015-03-0110:49:38 UTC
                        Deleted false
                           Body Hala saba7o ya lhayee Hi Good morning oh brother

                      Recipients AbouHaydar Yassine (100002594503606)
                                 Bassem Herz (71804612)
                         Author Bassem Hetz (71804612)
                           Sent 2015-03-0110:49:49 UTC
                        Deleted false
                           Body Wala hoon 1sa3a 4:30 I fajer By God here it's 4:30 in the early morning

                      Recipients AbouHaydar Yassine (100002594503606)
                                 Bassem Herz (71804612)
                         Author Bass.em Hetz (71804612)
                           Sent 2015-03-01 10:49:54 UTC
                        Deleted false
                           Body Keefak How are you

                      Recipients BassemHerz (71804612)
                                 AbouHayd11r Yassine (100002594503606)
                         Author AbouHaydar Yassine (100002594503 606)
                            Sent 2015-03-01 10:50:12 UTC
                        Deleted false
                           Body Habibi My deat

                      Recipients BassemHerz (71804612)
                                 AbouHaydar Yassine (100002594503606)
                         Author AbouHaydar Yassine (100002594503606)
                            Sent 2015~03-0110:50:17 UTC
                        Deleted false


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   := =-~ ~=             ~        -            -=       -      -       -       -   -   _-.    .   ;-'=::_   ~          -       .
                                      Body
                                             Miss u

                             Recipients AbouHaydar Yassine (100002594503606)
                                        Bassem Herz (71804612)
                                Author Bassem Herz (71804612)
                                  Sent 2015-03-01 10:50:31 UTC
                               Deleted false
                                  Body Wala ana bel altar By God 1 am (JLL)

                             Recipients AbouHaydar Yassine (100002594503606)
                                        Bassem Herz (71804612)
                                Author Bassem Herz (71804612)
                                  Sent 2015-03-0110:50:39 UTC
                               Deleted false
                                  Body Keefak inta sho akhbarak How are you what are you up to

                             Recipients Bassem Herz (71804612)
                                        AbouHaydar Yassine (100002594503606)
                                Author AbouHaydar Yassine (100002594503606)
                                  Sent 2015-03-01 10:50:55 UTC
                               Deleted false
                                  Body Wen ma 3am bsma3 sawtak How come I don't hear from you

                             Recipients AbouHaydar Yassine (100002594503606)
                                        Bassem Herz (71804612)
                                Author Bassem Herz (71804612)
                                  Sent 2015-03-01 10:51 :10 UTC
                               Deleted false
                                  Body Ya sa7be madgoot wala Oh my friend I'm under pressure

                             Recipients BassemHerz (71804612)
                                        AbouHaydar Yassine (100002594503606)
                                Author Ab-ouHaydar Yassine (100002594503606)
                                  Sent 2015-03-0110:51:23 UTC
                               Deleted false
                                  Body Samalliµili hal sgher Go.d bless this little one

                             Recipients Bassem Herz (71804612)
                                        AbouHaydar Yassine (100002594503606)
                                Author AbouHaydar Yassim: (100002594503606)
                                  Sent 2015-03-0110:51:28 UTC
                               Deleted false
                                  Body Bijarrin He's out of this world

                         Recipients AbouHaydar Yassine (100002594503606)
                                    Bassem Herz (71804612)
                            Author Bassem. Herz (71804612)
                              Sent 2015-03-0110:51:33 i.JTC
                           Deleted false
                              Body Teslamle God bless you

                         Recipients AbouHaydar Yassine (100002594503606)
                                    Bassem Herz (71804612)
                            Author Bassem Herz (71804612)
                              Sent 2015-03-01 10:51 :53 UTC
                           Deleted false-
                              Body Mabrook ijak banoot mete] l 2arnar yeljzel3een
                                    Congratulations you had a baby girl who's most beautiful

            Case 1:17-cr-00011-CJW-MAR Document 25-2 Filed 07/31/17 Page 29 of 32
       Recipients
                    Bassem Herz (71804612)
                    AbouHaydar Yassine (100002594503606)
          Author    AbouHaydar Yassine (100002594503606)
            Sent    2015-03-0110:51:53 UTC
         Deleted    false
            Body    Chu ghayaret ra2mak Did you change yow· number

       Recipients AbouHaydar Yassine (100002594503606)
                  Bassem Herz (71804612)
          Author Bassem Herz (71804612)
            Sent 2015-03-01 i0:52:07 UTC
         Deleted false
            Body Lah 'wala ba3do No by God he is still

       Recipients BassemHerz (71804612)
                  AbouHaydar Yassine (100002594503606)
          Author AbouHaydarYassine (100002594503606)
            Sent 2015-03-01 10:52:08 UTC
         Deleted false
            Body Habib albe My sweetheart

       Recipients BassemHerz (71804612)
                  AbouHaydar Yassine (100002594503606)
          Author AbouHaydar Yassine (100002594503606)
             Sent 2015-03-0110:52:25 UTC
         Deleted false
            Body 3am de2Jak I'm calling you

       Recipients Bassem Herz (71804612)
                  AbouHaydar Yassine (100002594503606)
          Author AbouHaydarYassine (100002594503606)
             Sent 2015-03-01 10:52:36 UTC
         Deleted false
            Body Viber

      Recipients AbouHaydar Yassine. (100002594503606)
                 Bassem Herz (71804612)
         Author Bassein Herz (71804612)
            Sent 2015-03-01 10:53:02 UTC
        Deleted false
           Body Maba3ref ana bde2elak bokra bas fee2 men I noom I don't know I ,s hall call you
           tomorrow when I wake up

      Recipients BassemHerz (71804612)
                 AbouHaydar Yassine (100002594503606)
         Author AbotiHaydar Yassiile (100002594503606)
           Sent 2015-03-0110:53:14 UTC
        Deleted false
           Body H.abibi A1y dear-

      Recipients BassemHerz (71804612)
                 AbouHaydar Yassine (100002594503606)
        · Author AbouHaydarYassine (100002594503606)
            Sent 2015-03~01 10;53:16 UTC
        Deleted false
           Body Ok

      Recipients AbouHaydar Yassine (100002594503606)

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                              Bassem Herz (718046 l 2)
                      Author Bassem Herz (71804612)
                        Sent 2015-03-0110:53:36 UTC,
                     Deleted false
                       Body Waal yhemak bas fe2et bade oshrab la2ytak 7akene Don't worry when I woke up and
                       wanted to drink I saw that you called me

                   Recipients BassemHerz (71804612)
                              AbouHaydar Yassine (100002594503606)
                      Author AbouHaydarYassine (100002594503606)
                        Sent 2015-03-01 10:53:3-7 UTC
                     Deleted false
                        Body Ana wallaah kent mfaker enak jet By God I thought that you had come

                   Recipients AbouHaydar Yassine (100002594503606)
                              Bassem Herz {71804612)
                      Author Bassem Herz (71804612)
                        Sent 2015-03-0110:53:41 UTC
                     Deleted false
                        Body 3a rase ya haj Okay then, oh hajj

                   Recipients AbouHaydar Yassine (100002594503606)
                              Bassc:;m Herz (71804612)
                      Author Bassem Herz (71804612)
                        Sent 2015-03-01 10:53:58 UTC
                     Deleted false
                        Body Lah wala ba3dne mashgool No by God I'm still busy

                   Recipients Bassem Herz (71804612)
                              AbouHaydar Yassine (100002594503606)
                      Author AbouHaydarYassine (100002594503606)
                        Sent 2015-03-01 10:55:21 UTC
                     Deleted false
                        Body Bawsel haydoura Kiss haydoura (?) for me

                   Recipients AbouHaydar Yassine (100002594503606)
                              Bassem Herz (71804612)
                      Author Bassem Herz (71804612)
                        Sent 2015-03-01 10:55:57 UTC
                     Deleted false
                        Body Wosel Received

                   R,ecipients AbouHaydar Yassine (10000259450360~)
                               BassemB:erz (?1804612)
                      Author B1J.sse1Tl Herz (71804612)
                         Sent 201,5-03-01 10:56:05 UTC
                     Deleted false
                         Body Tosba7 3a .kheer Good night

                   Recipients BassemHerz (71804612)
                              AbouHaydar Yassine (100002594503606)
                      Author AbouHaydarYassine (100002594503606)
                        Sent 2015-03-01 10:56:30 UTC
                     Deleted false
                        Body Enta men 2ahlo You are a relative

                   Recipients BassemHerz (71804612)
                              AbouHaydar Yassine ( 100002594503606)
                      Author AbouHaydarYassine (100002594503606)
                        Sent 2015-03-16 12:41:33 UTC
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                   Deleted
                           false
                      Body Abou haydar



         (id.297487013604400)
              Recipients BassemHerz (71804612)
                         Fadi Harkous (100002964840464)
                  Author Fadi Harkous (100002964840464)
                    Sent 2011-11-08 20:46:55 UTC
                 Deleted true
                   Body

                 Recipients Fadi Harkous (100002964840464)
                            Bassem Herz (71804612)
                    Author Bassem Herz (71804612)
                      Sent 2011-11-08 20:47:19 UTC
                   Deleted true
                      Body

             Recipients Fadi Harkous (100002964840464)
                        Bassem Herz (71804612)
                Author Bassem Herz (71804612)
                  Sent 2011-11-08 20:47:19 UTC
               Deleted true
                  Body

             Recipients BassemHerz (71804612)
                        Fadi Harkous (100002964840464)
                Author Fadi Harkous (100002964840464)
                  Sent 2011-11 -08 20 :49 :00 UTC
               Deleted true
                  Body

             Recipients Fadi Harkous (100002964840464)
                        Bassem Herz (71804612)
                Author Bassem Herz (71804612)
                  Sent 2011-11-08 20:49:32 UTC
               Deleted true
                  Body

             Recipients Fadi Harkou's (100002964840464)
                        Bassem Herz (71804612)
                Author Bassem Herz (71804612)
                  Sent 2011-11-08 20:49:44 UTC
               Deleted true
                  Body

            Recipients Fadi Hatkous (100002964840464)
                       Bassem Herz (71804612)
               Author Bassem Herz (71804612)
                 Sent 2011-11-08 20:49:50 UTC
              Deleted true
                 Bo(ly

            Recipients BassemHerz (71804612)
                       Fadi Harkous (100002964840464)
               Author Fadi Harkous (100002964840464)

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